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 1                                                         CHIEF JUDGE DAVID G. ESTUDILLO
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 4
                              UNITED STATES DISTRICT COURT
 5
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT TACOMA

 7
     UNITED STATES OF AMERICA,                         )   No. CR22-5139-DGE
 8                                                     )
                     Plaintiff,                        )   MR. DEBORBA’S NOTICE OF
 9                                                     )   SUPPLEMENTAL AUTHORITY RE:
                v.                                     )   MOTION TO DISMISS COUNTS 1-6
10                                                     )   [Dkt. 36]
     JOÃO RICARDO DEBORBA,                             )
11                                                     )
                     Defendant.                        )
12                                                     )
13          Mr. DeBorba, through counsel, notifies the court of supplemental authority that
14   was issued after his reply regarding his Motion to Dismiss Counts 1 through 6 of the
15   Superseding Indictment under the Second Amendment. [Dkt. 36]. On December 11,
16   2023, Honorable District Judge Kathleen Cardone of the Western District of Texas
17   entered a Memorandum Opinion and Order finding § 922(g)(5) facially unconstitutional
18   in United States v. Sing-Ledezma, EP-23-CR-823(1)-KC, Dkt. No. 43; 2023 WL
19   8587869. That Memorandum Opinion and Order is attached here.
20          DATED this 14th day of December 2023.
21                                                Respectfully submitted,
22
                                                  s/ Rebecca C. Fish
23                                                Assistant Federal Public Defender
                                                  Attorney for João Ricardo DeBorba
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                                                                    FEDERAL PUBLIC DEFENDER
       MR. DEBORBA’S NOTICE OF SUPPLEMENTAL                              1331 Broadway, Suite 400
       AUTHORITY                                                               Tacoma, WA 98402
       (United States v. DeBorba, CR22-5139-DGE) - 1                               (253) 593-6710
